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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )                 8:16CR76
      vs.                                   )
                                            )                  ORDER
JODY CASILLAS,                              )
                                            )
                    Defendant.              )
                                            )


       This matter is before the court on defendant’s unopposed motion to continue trial
[203]. Counsel needs additional time to conduct plea negotiations. The defendant has
complied with NECrimR 12.1(a). For good cause shown,

      IT IS ORDERED that the motion to continue trial is granted, as follows:

      1. The jury trial, currently set for December 6, 2016 is continued to March 7, 2017.

      2 In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
        justice will be served by granting this continuance and outweigh the interests of
        the public and the defendant in a speedy trial. Any additional time arising as a
        result of the granting of this motion, that is, the time between today’s date and
        March 7, 2017 shall be deemed excludable time in any computation of time
        under the requirement of the Speedy Trial Act. Failure to grant a continuance
        would deny counsel for the defendant the reasonable time necessary for
        effective preparation, taking into account the exercise of due diligence. 18
        U.S.C. § 3161(h)(7)(A) & (B)(iv).

      DATED December 2, 2016.

                                         BY THE COURT:

                                         s/ F.A. Gossett
                                         United States Magistrate Judge
